Case 5:22-mj-O0096-DUTY Document5 Filed 02/16/22 Pagelof8 Page ID #:13

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Violation: 18:3148

CourtSmart/ Reporter: (\s U o | lo = a a

CALENDAR/PROCEEDINGS SHEET
LOCAL/OUT-OF-DISTRICT CASE

 

UNITED STATES OF AMERICA, | Eastern Division
Plaintiff, |
vs. | Case Number: 5:22-MJ-00096 Out of District Affidavit
| Initial App. Date: 02/16/2022 Custody t™*
Russell Herman Fletcher | Initial App. Time: 2:00 PM
|
|
Defendant. : Date Filed: 02/16/2022
|
|
|

 

PROCEEDINGS HELD BEFORE UNITED STATES
MAGISTRATE JUDGE: Kenly Kiya Kato

PRESENT: Brown, Donnisha S. o. aH None
hams
Deputy Clerk Assistant U.S\ Attorney Interpreter/Language

CJINITIAL APPEARANCE NOT HELD - CONTINUED
[Court issues Order under Fed. R. Crim. P. 5(f) concerning prosecutor's disclosure obligations, see General Order 21-02 (written order).
me fe

 

 

efepdant informed of Ce. to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
preliminary hearing OR moval hearing / Rule 20.
Defendant states true name is as charged L] is

[J Court ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name. Counsel are directed to file all
future documents reflecting the true name as stated on the record.

Defendant advised of consequences pf false statement in financial affidavit. [1] Financial Affidavit ordered SEALED.

 

[v] Attorney: Young Kim, DFPD Appointed [-] Prev. Appointed [1] Poss. Contribution (see separate order)

 

ne Special appearance by:

Government’s request for detention is: [] GRANTED [1] DENIED if anem C1 CONTINUED

(1 Contested detention hearing is held. [] Defendant is ordered: [ Permanently Detained [] Temporarily Detained (see separate order).
AIL FIXED AT $ / e O00 (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)

[1 Government moves to UNSEAL Complaint/Indictment/Information/Entire Case: I] GRANTED [1] DENIED

(1Preliminary Hearing waived. [] Class B Misdemeanor [1] Defendant is advised of maximum penalties
This case is assigned to Magistrate Judge . Counsel are directed to contact the clerk for the setting
of all further proceedings.

C1PO/PSA WARRANT LC Counsel are directed to contact the clerk for

 

 

 

 

 

 

 

District Judge for the setting of further proceedings.
[Preliminary Hearing set for at 4:30 PM
LIPIA set for: at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
s Government’s motion to dismiss case/defendant only: (] GRANTED [] DENIED
DC) Defendant’ s motion to dismiss for lack of probable cause: L] GRANTED L-] DENIED
fendant executed Waiver of Rights. L] Process received. a I, . G ‘
— defendant Held to Answer to_ “ov an District of a CAI . /
Bond to transfer, if bail is posted. Defendant to report on er-before 2/25) 12z @ 10:30 aim. +o the. USDG Lor the_ SD cA .
(J Warrant of removal and final commitment to issue. Date issued: By CRD:
(1) Warrant of removal and final commitment are ordered stayed until
[Case continued to (Date) (Time) AM /PM
Type of Hearing: Before Judge /Duty Magistrate Judge.
Pgoceedings will be held in the [] Duty Courtroom C1 Judge’s Courtroom
[W Defendant committed to the custody of the U.S. Marshal [1] Summons: Defendant ordered to report to USM for processing.

(Abstract of Court Proceeding (CR-53) issued. Copy forwarded to USM.
Oo tract of Order to Return Defendant to Court on Next Court Day (M-20) issued. Original forwarded to USM.
LEASE ORDER NO:

694
Other Deferse Counsel Mu Sian Dalit cy mygt Sign wWrhin 4¢ hours of felease from Custody.
CR-10

PsA CJ useo lf FINANCIAL Wcr-29 EADY

Benue Clerk intiats OOGA

 

is

M-S (10/13) CALENDAR/PROCEEDING SHEET - LOCAL/OUT-OF-DISTRICT CASE Page | of 1
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UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

Case Name; United States of America v. Russell Herman Pletcher Case No. 5:22-MJ-00096-DUTY
[m] Defendant [7] Material Witness

 

Violation of Title and Section: 18;3148

[_]Summons  [m} Out of District [_] UNDER SEAL (] Modified Date:

 

Check only one of the five numbered boxes below (unless one bond is to be replaced by another):

1, L_] Personal Recognizance (Signature Only} (c}.[_] Affidavit of Surety With Justification Release No.
2. [_] Unsecured Appearance Bond (Form CR-3) Signed by:
$

 

38944

[] Release to Pretrial ONLY
["] Release to Probation ONLY
{m] Forthwith Release

 

 

3, Appearance Bond
$ 15,000 (as previously ordered in SD of CA)

(a). _] Cash Deposit (Amount or %) (Form CR-7)

 

 

[| With Full Deeding of Property:

 

(b). {Xj Affidavit of Surety Without
Justification (Form CR-4) Signed by:

 

ae [_] All Conditions of Bond
Financially responsible adult (Except Clearing- Warrants

Condition) Must be Met
and Posted by:

 

 

 

*** Defendant placed on bond under the

 

same conditions as in the Southern

 

 

 

 

 

 

«cect Vefaeet [| Third-Party Custody
District of California (see attached bond) 4, [] Collateral Bond in the Amount of (Cash Affidavit (Form CR-31)
with the imposition of additional or Negotiable Securities):
conditions. $ [mt] Bail Fixed by Court:

5, {_] Corporate Surety Bond in the Amount of / dsb
$ (Judge / Clerk's Initials)

 

 

 

 

 

 

 

PRECONDITIONS TO RELEASE
[_] The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).

 

 

{_] The Court has ordered a Nebbia hearing under § 3142 (g)(4).
[| The Nebbia hearing is set for at Clam, CI p.m.

 

ADDITIONAL CONDITIONS OF RELEASE

In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:
(_] Submit to: [[] Pretrial Services Agency (PSA) supervision as directed by PSA; (_] Probation (USPO} supervision as directed by USPO.
(The agency indicated above, PSA or USPO, will be referred to below as "Supervising Agency. "

["] Surrender all passports and travel documents to Supervising Agency no later than , sign a Declaration

 

re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency
of this case,

{_| Travel is restricted to unless prior permission is granted by Supervising
Agency to travel to a specific other location. Court permission is required for international travel.

[_] Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.

[_] Maintain or actively seek employment and provide proof to Supervising Agency. [_] Employment to be approved by Supervising Agency.

[_] Maintain or begin an educational program and provide proof to Supervising Agency.

Defendant's Initials: € fuv O¢f.pate 2ie¢ / 72.

 

GCR-1 (07/21) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE | OPS
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Case Name: United States of America v. Russell Herman Fletcher Case No, 5:22-M]J-00096-DUTY
[mi] Defendant [_] Material Witness

 

 

{_] Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
witness in the subject investigation or prosecution, [_] including but not limited to
3[[] except

[_] Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

 

 

 

of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

 

L_] Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. [_] In order to determine compliance,
you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[“] Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
own legal or true name without prior permission from Supervising Agency. [_] In order to determine compliance, you agree
to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not engage in telemarketing.

[_] Do not sell, transfer, or give away any asset valued at $ or more without notifying and obtaining

 

permission from the Court, except

 

[| Do not engage in tax preparation for others.

[] De not use alcohol.

[_] Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
requitements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
Supervising Agency.

(m] Do not use or possess illegal drugs or state-authorized marijuana. [mi] In order to determine compliance, you agree to
submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

{m] Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
prescribed by a medical doctor.

[mw] Submit to: [m]drug and/or {_Jalcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.

(m] Participate in residential ii] drug and/or [_j alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
of treatment based upon your ability to pay as determined by Supervising Agency. [_]Release to PSA only [_] Release to USPO only

[_] Submit to a mental health evaluation, If directed to do so, participate in mental health counseling and/or treatment approved by
Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.

[_] Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability

to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.
Location Monitoring Technology
[_] Location Monitoring technology at the discretion of the Supervising Agency

or

Defendant's Initials: ‘% be Of, Date: 2-4 6 for

 

 

CR-1 (07/21) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 2 OF 5
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Case Name: United States of America v. Russell Herman Fletcher Case No. 5:22-MJ-00096-DUTY

 

 

[m] Defendant [7] Material Witness

[_] Location Monitoring with a bracelet
[_] at the discretion of the Supervising Agency or
{_] Radio Frequency (RF) or
[_] Giobal Positioning System (GPS)

[_] Release to the Supervising Agency only or _[__] Placement of bracelet within 24 hours of release
or
[_] Location Monitoring without a bracelet

[7] at the discretion of the Supervising Agency or
{_| Virtual/Biometric or

[_] Voice Recognition

Restrictions
[_] Location Monitoring only - no residential restrictions

[_] Curfew - You are restricted to your residence every day:
[_] from to
[_] as directed by Supervising Agency

[_] Home Detention - You are restricted to your residence at all times except for employment, education, religious services, medical

needs or treatment, attorney visits, court appearances and obligations, essential needs, and ;

 

all of which must be preapproved by the Supervising Agency
[_] Home Incarceration - You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court

appearances and obligations, and , all of which must be preapproved by the Supervising Agency

 

[_] You are placed in the third-party custody (Form CR-31) of

 

(] Clear outstanding [[] warrants or [_] DMV and traffic violations and provide proof to Supervising Agency within days
of release from custody.

[] Do not possess or have access to, in the home, the workplace, or any other location, any device that offers internet access except
as approved by Supervising Agency. [[] In order to determine compliance, you agree to submit to a search of your person
and/or property by Supervising Agency in conjunction with the U.S. Marshal.

["] Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
the age of 18 except in the presence of a parent or legal guardian of the minor.

[_] Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
under the age of 18.

[] Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare

facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.

Defendant's Initials: YC fv Def. Date: ~| iC loz

 

 

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Case Name: United States of America v. Russell Herman Fletcher Case No. 5:22-MJ-00096-DUTY

 

 

[m] Defendant [| Material Witness

[| Do not view or possess child pornography or child erotica, [_] In order to determine compliance, you agree to submit to a search

of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S,
Marshal.
[_] Other conditions:

 

 

 

 

 

 

 

 

 

 

 

GENERAL CONDITIONS OF RELEASE

i will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
United States District Court to which I may be removed or to which the case may be transferred.

I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
direction in connection with such judgment as the Court may prescribe.

1 will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
so that I may be reached at all times.

I will not commit a federal, state, or local crime during the period of release.
] will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if | do so, I may be

subject to further prosecution under the applicable statutes.

I will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a,

Defendant's Initials: \« fv pt Date: 2 | ue

 

 

CR-1 (07/21) CENTRAL DISTRICT Of CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 4 OF 5
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Case Name: United States of America v. Russell Herman Fletcher Case No. 5:22-MJ-00096-DUTY

 

 

[m] Defendant [_] Material Witness

ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

As a condition of my release on this bond, pursuant fo Title 18 of the United States Code, I have read or have had interpreted to me
and understand the genera! conditions of release, the preconditions, and the additional conditions of release and agree to comply with
all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
continue in full force and effect until such time as duly exonerated.

I understand that violation of any of the general and/or additional conditions of release of this bond may resuit in a revocation of

release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
fine.

I further understand that if fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs, Execution of the
judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the

United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
forfeited,

 

2fiefre ‘S PEL wm hehetl Dh “Pho - Th 210k

Date Signature of Defendant / Material Witness Telephone Number

Dest Hot Sprigcs CA

City and State (DO NOT INCLUDE zp CaDE) ¢

[_] Check if interpreter is used: I have interpreted into the language this entire form

and have been told by the defendant that he or she understands all of it,

 

 

 

 

 

Interpreters Signature Date
Approved:

United States District Judge / Magistrate Judge Date
If cash deposited: Receipt # for $

 

 

(This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)

Defendant's initials YVe-for af. Date: z(t 6 law

 

 

CR-1 (07/21) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 5 OF 5
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AY LIA LAG. VOUT AUAU) WIUGE OGLE WURALIUN LS Ua RObaas LWIvMGuy rage ls

UNITED STATES DISTRICT COURT
for the Southern District of California

United States of America )
v. )
) Case No. 2:21-mj-8711-RBM-1

)

 

Russel Herman Fletcher

 

 

 

 

 

Defendant _ Fl LE D
PRETRIAL RELEASE ORDER
IT IS ORDERED that the defendant’s release is subject to these conditions: AUG 24 2021
Mandatory Conditions
(1) The defendant must not violate federal, state, or local law during the perio f LS OAT eo O NIA
(2) The defendant must cooperate in the collection ofa DNA sample as autho ie y RSE § fi SFRPUTY

 

 

Standard Conditions
(Each Standard Condition applies, unless stricken.)

(3) The defendant must appear in court as ordered and surrender as directed to serve any sentence.

(4) The defendant must not possess or attempt to possess a firearm, destructive device, or other dangerous weapon.
The defendant must legally transfer all firearms, as directed by Pretrial Services.

(5) The defendant must not use or possess a narcotic drug or other controlled substance without a lawful medical
prescription. The defendant must not use or possess marijuana under any circumstances.

(6) The defendant must report to the U.S. Pretrial Services Office (telephone (619) 557-5738) on the day of the initial
court appearance of within 24 hours of the defendant’s release from custody, whichever is later. Throughout this

case, the defendant must report as directed by the Pretrial Services Office and follow all directions of the Pretrial
Services Office.

(7) The defendant must advise the Court or the Pretrial Services Office in writing of; (1) the defendant’s current
residence address and phone number, when first reporting to Pretrial Services; and (2) any new contact
information, before making any change of residence or phone number.

(8) The defendant must read this Pretrial Release Order and the “Advice of Penalties and Sanctions” form, or have
them read to the defendant in the defendant’s native language. The defendant must acknowledge the defendant's
understanding of all the pretrial release conditions and the penalties and sanctions for any violations, by signing
the “Advice of Penalties and Sanctions” form.

(9) Restrict travel to: EI San Diego County Imperial County C1 State of California

LJ Orange County and Los Angeles County
CDCA (L.A., Orange, Riverside, San Bernardino, $.L.0., Santa Barbara, Ventura)

& Bo not enter Mexico [© Other Travel Restriction:
LI Travel may be expanded within the State of California, in PTS’s discretion.
C] Any travel outside the SDCA will be at defendant's own expense,

Additional Conditions
(10) (a) The defendant is released on personal recognizance.
(b) The defendant must execute an appearance bond in the amount of $ /§, / OO! ) —_ that is:
Unsecured. ;
® Secured, as set forth below. The Court finds that an unsecured bond will not reasonably assure the
defendant’s appearance as required and/or will endanger the safety of another person or the community.
Securitys[Z The co-signatures of _ f financially responsible fard-reteted)-adults or
A cash deposit with the Court of $ by defendant or surety,
C1 A trust deed to the United States on real property approved by a federal judge.
C1 A cash bond and/or a bail bond by an approved, solvent corporate surety. A corporate bail

bond must cover all conditions of release, not just appearances.
CO Other:

_ Hearing: (J Surety examination C1 Nebbia hearing (bail source hearing)
(11) 0 18 U.S.C. § 3142¢d) hold until if no detainer is lodged by then, these conditions take effect.

 

 

 

 
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FAS L727 LEY, UO Ae) LUE OCU LAVERURLEVEIS VE PCICHSG UIYUUILICILD Fage 4uig

(12) The defendant must:

mC)
0 (b)

C (c)
[ (d)

3 (e)
PAN

C1 @g)
0 wh)
OW
0 (j)
C (k)

Od

actively seek or continue full-time employment, or schooling, or a combination of both.
reside (1) with a family member, surety, or , Or

(C1) at a residence approved by the Pretrial Services Office, including any contract facility.
surrender any valid passport to the Pretrial Services Office and not obtain a passport or other

international travel document. .

clear all warrants/FTAs and pay all fines within 90 days of release or as directed by the Pretrial Services

Office.

submit to psychological/psychiatric treatment at Pretrial Services’ discretion.

submit to drug/alcohol testing no more than 'S times per month and/or outpatient substance abuse

therapy and’ counseling, as directed by the Pretrial Services Office. Testing may include urine testing,

the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance
screening or testing. Pretrial Services need not notify the Court of test results attributed to residual

elimination. oO

take two drug tests. If both tests are negative (or show only residual elimination of marijuana), no

further testing is authorized.

not use alcohol at all.

not have a blood alcohol content (BAC) of .08% or more.

participate in and complete a program of inpatient substance abuse therapy and counseling, as directed

by the Pretrial Services Office.

avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the

investigation or prosecution, including: :

participate in the Location Monitoring Program and comply with its requirements as directed under the
following component and technology:

(i): Curfew. You are restricted to your residence (4) every day from to , or (CQ)
as directed by the pretrial services office or supervising officer.

(ii) Home Detention. You are restricted to your residence at all times except for Pretrial Services-
approved absences for: employment; education; religious services; medical, substance abuse, or
mental health treatment; attorney visits; court appearances; Court-ordered obligations; or other
activities.

 

 

1 (ii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for

Li (m)
C1 ()

4 {o)
U1 ()

(q)
(r)

Lig
O «)

(13) All conditions previously set will remain the same. ; a
Dated: 08/24/2021 apt Kormuds, .
Homérabié Ruth Bermudez Mongghegro

Court-approved absences for medical necessities, court appearances, or other activities,
Technology: C1 PTS Discretion O GPS C1 Radio Frequency 1 Smart Link CF. Voice Recognition
You must pay all or part of the cost of the program based on your ability to pay as determined by the
pretrial services officer.’

Defense counsel must notify Pretrial Services upon submission of bond paperwork; defendant to be
released from custody to Pretrial Services the following business day by 10:00 a.m. and Pretrial Services
to transport if needed.

 

return to custody each at AM/PM after being released at AM/PM for
employment, schooling, or the following purposes: .
remain in the custody of __, who will supervise the defendant and

 

notify the Court immediately if the defendant violates any conditions of release.

not drive a vehicle without a valid U.S. driver license and current insurance.

Pretrial Services may disclose confidential information to third parties for the purposes of securing
community resources.

Adam Walsh Act: See attached Addendum for additional conditions.

Unless the Court has previously approved defendant’s completed bond packet, defendant must self-
surrender to the U.S. Marshal Service by noon on "Semin 7; oto/.
Surety at own expense to provide housing/transportation to/from court for dft.

Other conditions:

 

Tinitad Ctatac MManictrate Tidna
